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 From: DOC Communications Division <doc@lapd.online>
 Sent: Friday, September 10, 2021 12:28:38 PM
 To: DOC Communications Division <doc@lapd.online>
 Subject: Intent to File COVID-19 Vaccination Exemption Form - Extended to September 13, 2021

 To All Department Personnel:

 Pursuant to Ordinance 187134, COVID-19 Vaccination Requirement for All Current and Future City
 Employees, all current and future City employees shall have the right to petition for a medical or
 religious exemption from the mandatory vaccination requirement to be evaluated on a case-by-case
 basis.
 Following a meeting of the Executive Employee Relations Committee (EERC), the deadline for City
 employees to submit their intent to file for an exemption for medical or religious reasons has been
 extended to Monday, September 13, 2021.

 If you intend to file for a medical or religious exemption to the mandatory COVID-19 vaccination
 pursuant to Ordinance 187134, and you have not already done so, please click on the below
 google link to access the form. You will need to open the link with Google Chrome, complete all fields,
 and click submit.

 https://docs.google.com/forms/d/e/1FAIpQLSdBZr_7S-
 VT9UsEzuHL2N0c2shLc_0pSk5ppNl5BH7GoqzaAw/viewform

 The above google form must be completed no later than the close of business on Monday, September
 13, 2021.

 You are not obligated to file an exemption if you fill out the form should you change your mind, but it
 allows you to complete the process as soon as procedures and forms are established. You will be
 contacted by the City of Los Angeles Personnel Department with details about how to complete your
 exemption application for final review and approval.

 The first step in the process is to declare an intent to file for a medical or religious exemption. Specific
 forms and procedures are currently in development and in the process of being finalized by the City of
 Los Angeles Personnel Department. Please do not submit any other exemption forms to the
 Department at this time.

 If you are on vacation or on an approved leave of absence, you must file your exemption request by
 Monday September 13, 2021.

 The Department will continue to update you as additional information is received.

 If you have any questions regarding this matter, please contact Medical Liaison Section by email at
 mlsnotifications@lapd.online.

 DOMINIC H. CHOI, Assistant Chief
 Director, Office of Support Services
 Los Angeles Police Department



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